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 6                                UNITED STATES DISTRICT COURT
 7                              EASTERN DISTRICT OF CALIFORNIA
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 9   B.B., Student, by and through his educational )        Case No. 18-cv-01626-LJO-JLT
10   rights holder and mother, M.B.,               )
                                                   )        ORDER GRANTING COMPROMISE
11                          Plaintiff,             )        OF CLAIM OF MINOR
                                                   )
12   v.                                            )        (ECF No. 22.)
                                                   )
13   FRUITVALE SCHOOL DISTRICT and DOES)
     1-100, inclusive,                             )
14                                                 )
                            Defendants.            )
15                                                 )
                                                   )
16                                                 )
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18          Plaintiff B.B. filed this lawsuit seeking attorneys’ fees from Defendant Fruitvale School
19   District. The parties have settled this action, pending approval of this Court of the minor’s
20   compromise. The Court, having reviewed the Petition for Approval of Compromise of Claim of
21   Minor, and good cause appearing therefor, the Petition is GRANTED and the settlement is
22   APPROVED IN FULL.
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24   IT IS SO ORDERED.
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        Dated:     August 20, 2019                      /s/ Lawrence J. O’Neill _____
26                                                 UNITED STATES CHIEF DISTRICT JUDGE
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